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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                     Case No.:
      LUZ ZENDEJAS,
11                 Plaintiff,                          COMPLAINT FOR INJUNCTIVE
                                                       RELIEF AND DAMAGES FOR DENIAL
12          vs.                                        OF CIVIL RIGHTS OF A DISABLED
                                                       PERSON IN VIOLATIONS OF
13
                                                       1. AMERICANS WITH DISABILITIES
14                                                     ACT, 42 U.S.C. §12131 et seq.;
      NORTH OAKS PARTNERS, LLC; and
15    DOES 1 to 10,                                    2. CALIFORNIA’S UNRUH CIVIL
                                                       RIGHTS ACT;
16                 Defendants.
                                                       3. CALIFORNIA’S DISABLED
17                                                     PERSONS ACT;
18                                                     4. CALIFORNIA HEALTH & SAFETY
                                                       CODE;
19
                                                       5. NEGLIGENCE
20
21
22
23          Plaintiff LUZ ZENDEJAS (“Plaintiff”) complains of Defendants NORTH OAKS

24    PARTNERS, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

25                                              PARTIES

26          1.     Plaintiff is a California resident with a physical disability. Plaintiff is

27    diagnosed with multiple sclerosis which resulted in nerve damage and is substantially

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 1    limited in her ability to walk. Plaintiff requires the use of a wheelchair at all times when
 2    traveling in public.
 3             2.   Defendants are, or were at the time of the incident, the real property owners,
 4    business operators, lessors and/or lessees of the real property for a pharmacy
 5    (“Business”) located at or about 1014 E. Avenida De Los Arboles, Thousand Oaks,
 6    California.
 7             3.   The true names and capacities, whether individual, corporate, associate or
 8    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 9    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
10    Court to amend this Complaint when the true names and capacities have been
11    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
12    fictitiously named Defendants are responsible in some manner, and therefore, liable to
13    Plaintiff for the acts herein alleged.
14             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
15    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
16    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
17    the things alleged herein was acting with the knowledge and consent of the other
18    Defendants and within the course and scope of such agency or employment relationship.
19             5.   Whenever and wherever reference is made in this Complaint to any act or
20    failure to act by a defendant or Defendants, such allegations and references shall also be
21    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
22    and severally.
23                                  JURISDICTION AND VENUE
24             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
25    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
26    seq.).
27             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
28    arising from the same nucleus of operating facts, are also brought under California law,



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 1    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2    54, 54., 54.3 and 55.
 3          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5    property which is the subject of this action is located in this district, Ventura County,
 6    California, and that all actions complained of herein take place in this district.
 7                                      FACTUAL ALLEGATIONS
 8          10.    In or about May of 2024, Plaintiff went to the Business.
 9          11.    The Business is a pharmacy business establishment, open to the public, and
10    is a place of public accommodation that affects commerce through its operation.
11    Defendants provide parking spaces for customers.
12          12.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with her ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business.
15          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16    included, but were not limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to post required signage such as “Minimum Fine $250” and
20                        “Unauthorized Parking.”
21                 b.     Defendants failed to maintain the parking space designated for
22                        persons with disabilities to comply with the federal and state
23                        standards. Defendants failed to maintain the mark on the space with
24                        the International Symbol of Accessibility, resulting in the paint
25                        becoming severely deteriorated, hindering visibility.
26                 c.     Defendants failed to comply with the federal and state standards for
27                        the parking space designated for persons with disabilities. Defendants
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 1                        failed to provide an access aisle with level surface slope as there were
 2                        large potholes and cracks, creating an uneven surface.
 3          14.    These barriers and conditions denied Plaintiff the full and equal access to the
 4    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 5    patronize the Business; however, Plaintiff is deterred from visiting the Business because
 6    her knowledge of these violations prevents her from returning until the barriers are
 7    removed.
 8          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 9    there are additional barriers to accessibility at the Business after further site inspection.
10    Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
11    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
12          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
13    knew that particular barriers render the Business inaccessible, violate state and federal
14    law, and interfere with access for the physically disabled.
15          17.    At all relevant times, Defendants had and still have control and dominion
16    over the conditions at this location and had and still have the financial resources to
17    remove these barriers without much difficulty or expenses to make the Business
18    accessible to the physically disabled in compliance with ADDAG and Title 24
19    regulations. Defendants have not removed such barriers and have not modified the
20    Business to conform to accessibility regulations.
21                                       FIRST CAUSE OF ACTION
22           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
23          18.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
26    shall be discriminated against on the basis of disability in the full and equal enjoyment of
27    the goods, services, facilities, privileges, advantages, or accommodations of any place of
28




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 1    public accommodation by any person who owns, leases, or leases to, or operates a place
 2    of public accommodation. See 42 U.S.C. § 12182(a).
 3          20.   Discrimination, inter alia, includes:
 4                a.    A failure to make reasonable modification in policies, practices, or
 5                      procedures, when such modifications are necessary to afford such
 6                      goods, services, facilities, privileges, advantages, or accommodations
 7                      to individuals with disabilities, unless the entity can demonstrate that
 8                      making such modifications would fundamentally alter the nature of
 9                      such goods, services, facilities, privileges, advantages, or
10                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11                b.    A failure to take such steps as may be necessary to ensure that no
12                      individual with a disability is excluded, denied services, segregated or
13                      otherwise treated differently than other individuals because of the
14                      absence of auxiliary aids and services, unless the entity can
15                      demonstrate that taking such steps would fundamentally alter the
16                      nature of the good, service, facility, privilege, advantage, or
17                      accommodation being offered or would result in an undue burden. 42
18                      U.S.C. § 12182(b)(2)(A)(iii).
19                c.    A failure to remove architectural barriers, and communication barriers
20                      that are structural in nature, in existing facilities, and transportation
21                      barriers in existing vehicles and rail passenger cars used by an
22                      establishment for transporting individuals (not including barriers that
23                      can only be removed through the retrofitting of vehicles or rail
24                      passenger cars by the installation of a hydraulic or other lift), where
25                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26                d.    A failure to make alterations in such a manner that, to the maximum
27                      extent feasible, the altered portions of the facility are readily
28                      accessible to and usable by individuals with disabilities, including



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 1                        individuals who use wheelchairs or to ensure that, to the maximum
 2                        extent feasible, the path of travel to the altered area and the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area, are readily accessible to and usable by individuals with
 5                        disabilities where such alterations to the path or travel or the
 6                        bathrooms, telephones, and drinking fountains serving the altered area
 7                        are not disproportionate to the overall alterations in terms of cost and
 8                        scope. 42 U.S.C. § 12183(a)(2).
 9          21.    Where parking spaces are provided, accessible parking spaces shall be
10    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
15          22.    Under the ADA, the method and color of marking are to be addressed by
16    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17    Building Code (“CBC”), the parking space identification signs shall include the
18    International Symbol of Accessibility. Parking identification signs shall be reflectorized
19    with a minimum area of 70 square inches. Additional language or an additional sign
20    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21    parking space identification sign shall be permanently posted immediately adjacent and
22    visible from each parking space, shall be located with its centerline a maximum of 12
23    inches from the centerline of the parking space and may be posted on a wall at the
24    interior end of the parking space. See CBC § 11B-502.6, et seq.
25          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
26    each entrance to an off-street parking facility or immediately adjacent to on-site
27    accessible parking and visible from each parking space. The additional sign shall not be
28    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



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 1    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2    designated accessible spaces not displaying distinguishing placards or special license
 3    plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4    See CBC § 11B-502.8, et seq.
 5          24.    Here, Defendants failed to provide the sign stating, “Minimum Fine $250.”
 6    Moreover, Defendants failed to provide the additional sign with the specific language
 7    stating “Unauthorized vehicles parked in designated accessible spaces not displaying
 8    distinguishing placards or special license plates issued for persons with disabilities will
 9    be towed always at the owner’s expense…”
10          25.    The surface of each accessible car and van space shall have surface
11    identification complying with either of the following options: The outline of a profile
12    view of a wheelchair with occupant in white on a blue background a minimum 36” wide
13    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
14    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
15    length of the parking space and its lower side or corner aligned with the end of the
16    parking space length or by outlining or painting the parking space in blue and outlining
17    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
18    occupant. See CBC § 11B-502.6.4, et seq.
19          26.    Here, Defendants failed to maintain the mark on the space with the
20    International Symbol of Accessibility, resulting in the paint becoming severely
21    deteriorated, hindering visibility.
22          27.    Under the 1991 Standards, parking spaces and access aisles must be level
23    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
24    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
25    shall be part of an accessible route to the building or facility entrance and shall comply
26    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
27    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
28




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 1    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 2    directions. 1991 Standards § 4.6.3.
 3          28.      Here, the access aisle is not level with the parking spaces as there were large
 4    potholes and cracks, creating and uneven surface. Under the 2010 Standards, access
 5    aisles shall be at the same level as the parking spaces they serve. Changes in level are not
 6    permitted. 2010 Standards § 502.4. “Access aisles are required to be nearly level in all
 7    directions to provide a surface for transfer to and from vehicles.” 2010 Standards § 502.4
 8    Advisory. Id. No more than a 1:48 slope is permitted.
 9          29.      A public accommodation shall maintain in operable working condition those
10    features of facilities and equipment that are required to be readily accessible to and usable
11    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
12          30.      By failing to maintain the facility to be readily accessible and usable by
13    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
14    regulations.
15          31.      The Business has denied and continues to deny full and equal access to
16    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
17    discriminated against due to the lack of accessible facilities, and therefore, seeks
18    injunctive relief to alter facilities to make such facilities readily accessible to and usable
19    by individuals with disabilities.
20                                  SECOND CAUSE OF ACTION
21                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
22          32.      Plaintiff incorporates by reference each of the allegations in all prior
23    paragraphs in this complaint.
24          33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
25    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
26    national origin, disability, medical condition, genetic information, marital status, sexual
27    orientation, citizenship, primary language, or immigration status are entitled to the full
28




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 1    and equal accommodations, advantages, facilities, privileges, or services in all business
 2    establishments of every kind whatsoever.”
 3          34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5    for each and every offense for the actual damages, and any amount that may be
 6    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9    person denied the rights provided in Section 51, 51.5, or 51.6.
10          35.    California Civil Code § 51(f) specifies, “a violation of the right of any
11    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12    shall also constitute a violation of this section.”
13          36.    The actions and omissions of Defendants alleged herein constitute a denial
14    of full and equal accommodation, advantages, facilities, privileges, or services by
15    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17    51 and 52.
18          37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20    damages as specified in California Civil Code §55.56(a)-(c).
21                                   THIRD CAUSE OF ACTION
22                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23          38.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26    entitled to full and equal access, as other members of the general public, to
27    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



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 1   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4   places of public accommodations, amusement, or resort, and other places in which the
 5   general public is invited, subject only to the conditions and limitations established by
 6   law, or state or federal regulation, and applicable alike to all persons.
 7         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8   corporation who denies or interferes with admittance to or enjoyment of public facilities
 9   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11   the actual damages, and any amount as may be determined by a jury, or a court sitting
12   without a jury, up to a maximum of three times the amount of actual damages but in no
13   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14   determined by the court in addition thereto, suffered by any person denied the rights
15   provided in Section 54, 54.1, and 54.2.
16         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
17   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18   constitute a violation of this section, and nothing in this section shall be construed to limit
19   the access of any person in violation of that act.
20         42.    The actions and omissions of Defendants alleged herein constitute a denial
21   of full and equal accommodation, advantages, and facilities by physically disabled
22   persons within the meaning of California Civil Code § 54. Defendants have
23   discriminated against Plaintiff in violation of California Civil Code § 54.
24         43.    The violations of the California Disabled Persons Act caused Plaintiff to
25   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26   statutory damages as specified in California Civil Code §55.56(a)-(c).
27   //
28   //



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 1                                FOURTH CAUSE OF ACTION
 2                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 3         44.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         45.    Plaintiff and other similar physically disabled persons who require the use of
 6   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 7   such facility is in compliance with the provisions of California Health & Safety Code §
 8   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 9   provisions of California Health & Safety Code § 19955 et seq.
10         46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
11   that public accommodations or facilities constructed in this state with private funds
12   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
13   Title 1 of the Government Code. The code relating to such public accommodations also
14   require that “when sanitary facilities are made available for the public, clients, or
15   employees in these stations, centers, or buildings, they shall be made available for
16   persons with disabilities.
17         47.    Title II of the ADA holds as a “general rule” that no individual shall be
18   discriminated against on the basis of disability in the full and equal enjoyment of goods
19   (or use), services, facilities, privileges, and accommodations offered by any person who
20   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
21   Further, each and every violation of the ADA also constitutes a separate and distinct
22   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
23   award of damages and injunctive relief pursuant to California law, including but not
24   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
25                                   FIFTH CAUSE OF ACTION
26                                         NEGLIGENCE
27         48.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4          50.    Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11          1.     For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13          2.     Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15          3.     Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20          6.     Such other and further relief as the Court deems just and proper.
21                               DEMAND FOR TRIAL BY JURY
22          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23   demands a trial by jury on all issues so triable.
24
25   Dated: August 14, 2024                  SO. CAL. EQUAL ACCESS GROUP
26
27                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
28                                                  Attorneys for Plaintiff



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